PUUEMMONCU UNCER CORTINA titer aaa

 

 

 

 

 

 

 

 

 

 

Debtor 1 Alexander Odongo Winder 7
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: NORTHERN DISTRICT OF INDIANA i] Check if this is an amended plan, and
list below the sections of the plan that
Case number: 20-20748 have been changed.
2.1, 2.5, 3.2, 3.5
(If known)
Official Form 113
Chapter 13 Plan 12/17
Byline Notices
To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not

indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
do not comply with local rules and judicial rulings may not be confirmable.

In the following notice to creditors, you must check each box that applies

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
will be ineffective if set out later in the plan.

 

 

 

 

11 A limit on the amount of a secured claim, set out in Section 3.2, which may result in |{s4] Included [_] Not Included
a partial payment or no payment at all to the secured creditor

12 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, |[_ | Included i@| Not Included
set out in Section 3.4.

1.3 Nonstandard provisions, set out in Part 8. if] Included [| Not Included

 

 

 

 

 

 

® Plan Payments and Length of Plan

2.1 Debtor(s) will make regular payments to the trustee as follows:

$830.00 per Month for 1 month, then
$785.00 per Month for 59 months beginning May 2020

Insert additional lines if needed.

If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner.
Check all that apply: .
| Debtor(s) will make payments pursuant to a payroll deduction order.
lvl Debtor(s) will make payments directly to the trustee.
LJ Other (specify method of payment):

2.3 Income tax refunds.

Check one.
LJ] Debtor(s) will retain any income tax refunds received during the plan term.
APPENDIX D Chapter 13 Plan Page |

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Debtor Alexander Odongo Winder Case number

 

 

| Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
return and will turn over to the trustee all income tax refunds received during the plan term.

Debtor(s) will treat income refunds as follows:
Debtor(s) shall keep $750.00 of their tax refund and any Earned Income Credit and Additional Child Tax
Credits. That each of the first three (3) years Debtor(s) shall turnover any amount received in excess of
these amounts.

2.4 Additional payments.
Check one.
None. /f “None” is checked, the rest of § 2.4 need not be completed or reproduced.
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $47,145.00.

i Treatment of Secured Claims

 

3.1 Maintenance of payments and cure of default, if any.
Check one.
[#1 None. /f “None” is checked, the rest of § 3.1 need not be completed or reproduced.
3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

Ll None. [f “None” is checked, the rest of § 3.2 need not be completed or reproduced.
The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

[¥] The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
claim listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of
secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
property interest of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or

(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

‘Name of . . Estimated Collateral Valueof . Amount Amountof.~ ~. Interest Monthly ~ Estimated

‘creditor. °/ amount of : collateral of claims ‘secured claim |. rate.» paymentto ~: _totalof ~~ *

le 22 ereditor's >. ad cen" senior to... 7 <8" ~e@reditor“° - monthly

~ total claim’ ey ereditor’ 2 = oe “. "payments .

2437 W.
2ist

Greyt Avenue $548.02 plus

Estates, Gary, IN $120.00 for

LLC $26,400.00 46404 $20,000.00 $0.00 ~—-$26,400.00 9.00% escrow $40,081.20

 

Insert additional claims as needed.
3.3 Secured claims excluded from 11 U.S.C. § 506.

Check one.

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a None. /f “None” is checked, the rest of § 3.3 need not be completed or reproduced.
3.4 Lien avoidance.

Check one.
None. [f “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

Check one,

None. /f “None” is checked, the rest of § 3.5 need not be completed or reproduced.

The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
under § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be
treated in Part 5 below.

Credit Acceptance Corp. 2012 Ford Focus 120,000 miles

Insert additional claims as needed.

 

@ Treatment of Fees and Priority Claims
41 General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.
4.2 Trustee’s fees
Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 4.50% of plan payments; and
during the plan term, they are estimated to total $per statute.
43 Attorney's fees,
The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,000.00.
44 Priority claims other than attorney’s fees and those treated in § 4.5.
Check one.
Ll None. Jf “None” is checked, the rest of § 4.4 need not be completed or reproduced.
The debtor(s) estimate the total amount of other priority claims to be $882.00

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

Check one.
li None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced,

 

[eine Treatment of Nonpriority Unsecured Claims
5.1 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
providing the largest payment will be effective. Check all that apply.

[] Thesumof$ .
| % of the total amount of these claims, an estimated payment of $ .
The funds remaining after disbursements have been made to all other creditors provided for in this plan.

If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ .

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Debtor Alexander Odongo Winder Case number

 

 

Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.
5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims, Check one.
lvl None. Jf “None” is checked, the rest of § 5.2 need not be completed or reproduced.
5.3 Other separately classified nonpriority unsecured claims. Check one.
f¥l None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Executory Contracts and Unexpired Leases

 

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
contracts and unexpired leases are rejected. Check one.

il None. /f “None” is checked, the rest of § 6.1 need not be completed or reproduced.

W Vesting of Property of the Estate

 

71 Property of the estate will vest in the debtor(s) upon
Check the appliable box:
fi] plan confirmation.
[| entry of discharge.
[.] other:

 

f Nonstandard Plan Provisions

 

8.1 Check "None" or List Nonstandard Plan Provisions
Cc] None. if “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 

 

 

= Signature(s):

 

91 Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
ifany, must sign below.

X /s/ Kevin M. Schmidt Date May 21, 2020

Kevin M. Schmidt 11668-45
Signature of Attorney for Debtor(s)

 

 

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.

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